                            IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ALABAMA
                                       NORTHERN DIVISION

In re:   SARAI SERVICES GROUP, INC.                        )
                                                           )       Case No.: 18-82948-CRJ-11
                                                           )
                                                           )
                  Debtor.                                  )       CHAPTER 11
                                                           )


                      ORDER APPROVING ADEQUATE PROTECTION TO
                    SECURED CREDITOR NATIONAL BANK OF COMMERCE


         This matter came before the Court upon the Motion of Sarai Services Group, Inc, SSGWWJV LLC,
Sarai Investment Corporation, and CM Holding, Inc. (collectively, the “Debtor”), seeking an order of this
Court establishing adequate protection for secured creditor National Bank of Commerce (“NBC”). After
proper notice, a hearing was held on March 4, 2019, with appearances by Tazewell T. Shepard IV on behalf
of the Debtor-in-Possession, Joe A. Joseph on behalf of National Bank of Commerce, and Richard M.
Blythe on behalf of the Bankruptcy Administrator.

         Upon consideration by the Court, and with no objections having been filed, it is hereby

         ORDERED, ADJUDGED and DECREED that, pursuant to 11 U.S.C. § 361, the Debtor shall
make payments of $4,500.00 per month beginning on March 15, 2019 to NBC as sufficient adequate
protection to protect this creditor’s interest in the Debtor’s collateral property for the period through June
14, 2019, such payments to be applied in the sole discretion of NBC to the loan of the Debtor, CM Holdings,
Inc.; and it is

         ORDERED, ADJUDGED and DECREED that the parties are granted leave to file further
pleadings with the Court at any time, to address any further adequate protection or stay relief that either
party may deem necessary or appropriate.

Dated this the 8th day of March, 2019.

                                                           /s/ Clifton R. Jessup, Jr.
                                                           Clifton R. Jessup, Jr.
                                                           United States Bankruptcy Judge


Prepared by:                                                       Approved by:
Tazewell T. Shepard                                                Joe A. Joseph
Attorney for Debtor                                                Attorney for NBC




Case 18-82948-CRJ11             Doc 165 Filed 03/08/19 Entered 03/08/19 09:30:45                       Desc
                                  Main Document     Page 1 of 1
